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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            GAINESVILLE DIVISION

STEPHAN HOMEWOOD,

       Plaintiff,

v.                                           CASE NO.: 1:20cv244-MW/GRJ

ALACHUA COUNTY
SUPERVISOR OF ELECTIONS,

     Defendant.
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            ORDER ACCEPTING REPORT AND RECOMMENDATION

       This Court has considered, without hearing, the Magistrate Judge’s Report

and Recommendation, ECF No. 5. Upon consideration, with no objections having

been filed by the parties,

       IT IS ORDERED:

       The Report and Recommendation is accepted and adopted as this Court’s

opinion. The Clerk shall enter judgment stating, “This action is DISMISSED for

failure to comply with a court order and failure to prosecute.” The Clerk shall close

the file.

       SO ORDERED on December 30, 2020.
                                       s/Mark E. Walker
                                       Chief United States District Judge
